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                             UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OKLAHOMA

   Robbie Emery Burke,
                                              Plaintiff(s),

   vs.                                                            Case Number: 11-cv-00720-JED-PJC
                                                                  Proceeding: Status Hearing
   Stanley Glanz, et al. ,                                        Date: 1-15-2019
                                            Defendant(s).         Court Time: 10:00 a.m.

                                                    MINUTE SHEET

    Paul J. Cleary, U.S. Magistrate Judge                 S. Cope, Deputy Clerk    C1, Reporter

   Counsel for Plaintiff: Robert Blakemore,
   Counsel for Defendant: not present
   Minutes: Case called for status hearing on Motion for Attorney Fees (#543). Parties are directed
   to notify the court when the appeal is concluded and the Motion for Attorney Fees is ripe for
   consideration.




                                       Court Time 10:04 a.m. - 10:08 a.m.




   Minute Sheet General                                                                              CV-01 (12/04)
